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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 12-234V
                                     Filed: February 13, 2015
                                        Not for Publication


*************************************
KELLY SCHULTZ and                          *
KELLY SCHULTZ and PETER SCHULTZ,*
Parents of L.S., a Minor,                  *
                                           *
               Petitioners,                *
                                           *              Damages decision based on stipulation;
v.                                         *              influenza (flu) vaccine; Guillain-Barré
                                           *              Syndrome (GBS); alleged receipt of vaccine
SECRETARY OF HEALTH                        *              in vitro; developmental delay; verbal apraxia
AND HUMAN SERVICES,                        *
                                           *
               Respondent.                 *
                                           *
*************************************
Ronald C. Homer, Boston, MA, for petitioners.
Justine Walters, Washington, DC, for respondent.


MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

         On February 13, 2015, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms.


1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioners have 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
                                                     1
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        Petitioner, Kelly Schultz, filed a petition for vaccine compensation under the National
Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10–34 (2006) (“Vaccine Act”), on April 11,
2012. She alleges that she suffers from Guillain-Barré Syndrome (“GBS”) as a result of her
receipt of influenza (“flu”) vaccine on September 15, 2009. On September 11, 2012,
petitioners, Kelly and Peter Schultz, filed a second petition for vaccine compensation on behalf
of their child, L.S., docketed as number 12-590V. Petitioners allege that L.S. suffers from
developmental delay and/or verbal apraxia as a result of the flu vaccine administered to Kelly
Schultz while L.S. was in utero. These petitions were joined on August 30, 2013.

        Respondent denies that the flu vaccine caused Kelly Schultz’s GBS, any other injury, or
her current condition. Respondent denies that L.S. received the flu vaccination administered on
September 15, 2009, and further denies that the flu immunization caused L.S.’s developmental
delay, verbal apraxia, any other injury, or his current condition. Respondent denies that
petitioners’ claim on behalf of L.S. is legally tenable under the Vaccine Act.

        Nonetheless, the parties agreed to resolve this matter informally. The undersigned finds
the terms of the stipulation to be reasonable. The court hereby adopts the parties’ said
stipulation, attached hereto, and awards compensation in the amount and on the terms set forth
therein.

       Pursuant to the stipulation, the court awards a lump sum of $350,000.00, representing
compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a) for Kelly
Schultz’s alleged injury. The award shall be in the form of a check for $350,000.00 made
payable to Kelly Schultz, in her individual capacity.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: February 13, 2015                                                   s/ Laura D. Millman
                                                                            Laura D. Millman
                                                                              Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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